Exhibit 4
                LAND CIEARANCE FOR REDEVELOPMENT AUTHORITY
                                      7733 FORSYTH BLVD., SUITE   22OO
                                           ST. LOUIS, MO 63105



                                               August 1,,2019

The Honorable Catherine D. Perry
U.S. District Court for the Eastern District of Missouri
111 South 10th Street
St. Louis, MO 53102

Re        United Stotes of Americo v. Steven V. Stenger, Cause No. 4:19CR31-2
          United Stotes of Americo v. Sheilo A. Sweeney, Cause No. 4:19CR375

Dear Judge Perry


ln accordance with pleas entered by Steven V. Stenger and Sheila A. Sweeney, the defendants in the above
referenced cases (together, the "Defendants"), the Land Clearance for Redevelopment Authority of the
County of St. Louis (the "LCRA") is a victim of crimes committed by the Defendants. Please accept this
letter as a statement on behalf of the LCRA under 18 U.S.C. S 3771.

The LCRA is a political subdivision formed in 1956 under Land Clearance for Redevelopment Authority
Law, 55 99.300 to 99.650, RSMo. The LCRA's Board of Commissioners is appointed by St. Louis County
and is managed through the St. Louis Economic Development Partnership. The LCRA exists to eradicate
and redevelop blighted and insanitary areas as part of long-term comprehensive planning.

The corruption scheme devised and executed be Defendants, as described in their guilty pleas, caused
substantialdirect financial loss to the LCRA, including the following:
     a   Fees and costs to review and respond to multiple deficient "development plans" submitted by
         Wellston Holdings, LLC for land it acquired through the Defendants' illegal schemes.
     a   Fees   for crisis communications in connection with    LCRA denials    of Wellston Holdings,   LLC's
         deficient development plans.
     a   Undetermined fees and costs of staff in connection with Wellston Holdings, LLC's deficient
         development plans.

It is critical for the to recover the land sold to Wellston Holdings, LLC. The LCRA spent over 20 years
                         LCRA
assembling and performing environmental cleanup on the two parcels of land sold to Wellston Holdings,
LLC. lt's estimated that the LCRA, mostly through federal grants, invested about S10,000,000 in
environmental cleanup costs to make the property suitable for development and marketable.

To recover these parcels, the LCRA's current legal mechanism is exercising a right of repurchase from
Wellston Holdings, LLC, which itself participated in the Defendants' illegal scheme. Repurchasing the
properties will result in additional financial hardship to the LCRA because the LCRA may be required to
borrow all or a portion of the amount needed to fund the repurchase.
The Honorable Catherine D. Perry
August 1,2019
Page 2




Finally, we respectfully suggest that the Court consider the substantial loss to the communities the LCRA
serves. Damage to the LCRA is damage to communities it serves. The LCRA has lost the oppottunity to
consider other development opportunities during Wellston Holdings, LLC's ownership of the properties.
Additionally, the LCRA has been at the center of public controversy in connection with the Defendants'
crimes, causing mistrust and loss of credibility in the communities it serves, such as the City of Wellston.
The Defendants' crimes caused delay and mistrust that will impact the LCRA's ability carry out its long-
term plan to attract investment, expand the City's and County's tax base, and create jobs in the City of
Wellston and surrounding areas.

The Defendants' scheme sought to remove benefits from the community and confer those to private
individuals in exchange for direct gain to the Defendants and others. Their illegal scheme has in fact
delayed, and will continue to hinder, development in communities with the most need. The human impact
and cost of this is virtually incalculable.

Sincerely,

The Board of Commissioners
of the Land Clearance for Redevelopment Authority of the County of St. Louis
